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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

 Case No.      CV 85-4544-DMG (AGRx)                                             Date    March 28, 2020

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 Present: The Honorable          DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                       NOT REPORTED
                Deputy Clerk                                                     Court Reporter

     Attorneys Present for Plaintiff(s)                                Attorneys Present for Defendant(s)
              None Present                                                       None Present

Proceedings: IN CHAMBERS—ORDER RE PLAINTIFFS’ EX PARTE APPLICATION
             FOR RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE
             PRELIMINARY INJUNCTION [733]

       On March 26, 2020, in light of the COVID-19 public health crisis, Plaintiffs filed an Ex
Parte Application for a Temporary Restraining Order (TRO) and an Order to Show Cause (OSC)
why a preliminary injunction should not issue, arguing that Defendants the Office of Refugee
Resettlement (“ORR”) and Immigration and Customs Enforcement (“ICE”) must promptly release
or provide justification for retaining custody over eligible Class Members, and that ORR and ICE
should implement the practices recommended by the United States Centers for Disease Control
and Prevention (“CDC”) to avoid the spread of infection.1 [Doc. # 733.] On March 27, 2020,
Defendants filed their response, and the Court held a hearing. [Doc. # 73.]

    Having duly considered the parties’ written submissions and oral arguments, the Court
GRANTS in part and DENIES in part the Ex Parte Application for the reasons set forth below.

                                                  I.
                                             BACKGROUND2

        The Coronavirus Disease 2019 (“COVID-19”) has reached pandemic status and, without
effective intervention, the CDC projects it will infect up to 200 million people and cause as many
as 1.5 million deaths in the United States alone. TRO App., Ex. A (Peeler Decl.) ¶¶ 5–6 [Doc.
# 733-3]. Governments and public agencies have taken extraordinary measures to attempt to
curtail exponential rates of infection of this highly contagious disease, including school closures
and “shelter in place” orders covering over 160 million Americans. See TRO App. at 10; TRO

          1
            Currently, Plaintiffs do not seek a TRO against Defendant Customs and Border Patrol (“CBP”), as those
parties are close to an agreement on the relevant issues in CBP facilities. Schey Decl. ¶ 7.
         2
          The Court incorporates by reference the factual background of the Flores Agreement set out in Flores v.
Lynch, 828 F.3d 898, 901–04 (9th Cir. 2016), and this Court’s own prior orders.

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App., Ex. B (Haney Decl.) ¶ 5 [Doc. # 733-4].3 With no vaccine or cure at present, and hospitals
in some parts of the country already becoming overwhelmed with COVID-19 cases, medical
experts urge the practice of social distancing—maintaining more than six feet between all
individuals, even asymptomatic individuals—and frequent hand washing and use of hand sanitizer.
Peeler Decl. ¶¶ 12–14; TRO App., Ex. C (Graves Decl.) ¶ 8 [Doc. # 733-5]; TRO App., Ex. E
(Wang Decl.) ¶ 12 [Doc. # 733-7]. Officials recommend limiting gatherings of more than ten
people. Wang Decl. ¶ 18.

       The CDC has issued “Interim Guidance on Management of Coronavirus Disease 2019
(COVID-19) in Correctional and Detention Facilities” advising such facilities on preparation,
prevention, and management measures to help reduce the risk of transmission and severity of
disease from COVID-19. Defs.’ Response, Ex. L (“CDC Guidance”) [Doc. # 736-12].4

        On March 19, 2020, ORR distributed the “COVID-19 Interim Guidance for ORR
Programs” (“ORR Guidance”) to its contracted care facilities. TRO App., Ex. L (“ORR
Guidance”) [Doc. # 773-14]. The ORR Guidance requires (1) planning and coordination with
local hospitals and health departments, (2) enhanced staff and visitor screening for symptoms or
COVID-19 risk, (3) identifying children with risk of COVID-19 exposure risk, (4) isolating
children with symptoms or high risk if possible, and (5) releasing children from custody only once
they have been medically cleared by a physician or ORR has been consulted. Id. ORR has since
updated its practices regarding COVID-19, as described in more detail below. See generally Defs’
Response, Ex. A (Sualog Decl.) [Doc. # 736-1]. A CDC COVID-19 specialist has advised that
“ORR’s current COVID-19 procedures are consistent with CDC guidances for congregate settings;
they direct grantee care-provider facilities to implement both containment and mitigation
measures. In some respects, ORR’s current COVID-19 procedures actually exceed those set forth
in the CDC guidances to congregate care facilities.” Defs.’ Response, Ex. K (Cohn Decl.) ¶ 20
[Doc. # 736-11].5


         3
             All page references herein are to page numbers inserted by the CM/ECF system.
         4
            The CDC Guidance specifically refers to ICE as a covered agency but does not specifically cover the higher-
security ORR facilities or juvenile facilities. The Guidance does suggest, however, that administrators of juvenile
facilities adapt the CDC Guidance to suit their needs. Id. at 4.
          5
            This statement compares ORR’s procedures to CDC’s guidances for long-term care facilities such as nursing
homes, not to the CDC guidance for detention facilities. See CDC, Preparing for COVID-19: Long-term Care
Facilities, Nursing Homes, https://www.cdc.gov/coronavirus/2019-ncov/healthcare-facilities/prevent-spread-in-long-
term-care-facilities.html (last accessed March 28, 2020). The CDC guidance for long-term care facilities is less
detailed than that for detention facilities but makes similar general recommendations. “Congregate” care refers to

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        ICE’s Guidance on COVID-19 was last updated and reviewed on March 26, 2020, U.S.
Immigration        and      Customs     Enforcement,       ICE   Guidance      on     COVID-19,
https://www.ice.gov/covid19 (last visited March 27, 2020) (“ICE Guidance”).6 The ICE Guidance
claims in general terms that it incorporates the CDC’s recommendations. ICE has suspended
social visitation to its three Family Residential Centers (“FRCs”) where Class Members and their
family members are held, and offered virtual legal visitation. Peeler Decl. ¶ 16; TRO App., Ex. J
(Meza Decl.) ¶ 14 [Doc. # 733-12]; Defs.’ Ex. M, (Johnson Decl.) ¶¶ 21, 24 [Doc. # 736-13]. An
attorney observed that as of March 23, 2020, Karnes County Residential Center (“Karnes”)
appeared to be implementing some social distancing measures. Meza Decl. ¶ 38. ICE is screening
visitors, testing detainees with symptoms for COVID-19, and transporting detainees who require
higher levels of monitoring and care to appropriate hospitals. Johnson Decl. ¶¶ 10, 22–23. ICE is
also following Pennsylvania and Texas state guidance in managing FRCs located in those states,
including shutting down schools and volunteer programs that would expose residents to in-person
contact. Id. ¶¶ 19, 24, 30.

        As of March 26, 2020, eight program personnel or foster parents at five ORR care-provider
programs located in New York, Washington, and Texas have self-reported testing positive for
COVID-19. Sualog Decl. ¶ 38. There were four confirmed cases among minors in ORR care
provider facilities, all in one facility in New York, and 18 minors have been tested. Id. ¶¶ 35–37.
At least one child in ICE care is under quarantine, has received a COVID-19 test, and is awaiting
results. TRO App., Ex. H (Cambria Decl.) ¶ 36 [Doc. # 733-10]. According to ICE, as of March
26, 2020, there are two confirmed cases of COVID-19 among ICE detainees, three confirmed cases
among ICE personnel working in detention facilities, and 19 confirmed cases among ICE
employees not assigned to detention facilities. See ICE Guidance.

        Plaintiffs now argue that ORR’s and ICE’s response to the coronavirus pandemic violates
their contractual obligations under the Flores Settlement Agreement (“FSA” or “Agreement”) and
seek a TRO requiring ORR and ICE to promptly release eligible Class Members, record the
agencies’ reasons for not promptly releasing Class Members, and implement the CDC’s
recommendations for managing COVID-19 in detention facilities.



settings where numerous people sleep, eat, bathe, and participate in daily activities in close quarters, and by definition,
is incompatible with social distancing. Wang Decl. ¶ 17; Graves Decl. ¶ 10.
         6
          The Court sua sponte takes judicial notice of the ICE Guidance as facts not subject to reasonable dispute
and “capable of accurate and ready determination by resort to sources whose accuracy cannot reasonably be
questioned.” Campbell v. PricewaterhouseCoopers, LLP, 642 F.3d 820, 824, n. 3 (9th Cir. 2011) (citing Fed. R. Evid.
201(b)).

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                                              II.
                                       LEGAL STANDARD

         TROs are governed by the same standard applicable to preliminary injunctions. Niu v.
United States, 821 F. Supp.2d 1164, 1167 (C.D. Cal. 2011) (internal quotation omitted); see also
Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). A plaintiff
seeking preliminary injunctive relief must show that: (1) they are likely to succeed on the merits;
(2) they are likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance
of equities tips in their favor; and (4) an injunction is in the public interest. Toyo Tire Holdings of
Ams. Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975, 982 (9th Cir. 2010) (citing Winter v. Nat. Res.
Def. Council, Inc., 555 U.S. 7, 20 (2008)). An injunction is also appropriate when a plaintiff raises
“serious questions going to the merits,” demonstrates that “the balance of hardships tips sharply in
[their] favor,” and “shows that there is a likelihood of irreparable injury and that the injunction is
in the public interest.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011)
(quoting Lands Council v. McNair, 537 F.3d 981, 987 (9th Cir. 2008)). In the Ninth Circuit, the
four “elements of the preliminary injunction test are balanced, so that a stronger showing of one
element may offset a weaker showing of another.” Id. at 1131.

                                               III.
                                           DISCUSSION

A.       Likelihood of success on the merits

        Plaintiffs argue that they have shown likelihood of success on the merits of their claims
that ORR and ICE have failed to comply with their obligations under the FSA to “release a minor
from its custody without unnecessary delay” and “make and record the prompt and continuous
efforts on its part toward family reunification and the release of the minor,” as well as their
obligation to keep Class Members “in facilities that are safe and sanitary and that are consistent
with [their] concern for the particular vulnerability of minors.” Flores Agreement ¶¶ 12, 14, 18
[Doc. # 101]. To protect Class Members’ rights under the Agreement, Plaintiffs seek (1) the
prompt release of minors who are neither a flight risk nor a danger and minors who have a suitable
custodian, as well as placement of minors in non-congregate settings if possible and up-to-date
reporting on the justifications for keeping minors in custody, and (2) ORR and ICE’s prompt
implementation of public health strategies recommended by the CDC to protect people that remain
in congregate settings in detention. Plaintiffs also seek enforcement of the Flores Agreement’s
provision requiring that Defendants make and record their continuous efforts toward releasing
individual Class Members.


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        It is beyond dispute at this point in this litigation that the FSA is a consent decree that is
construed as a contract. See, e.g., Flores v. Sessions, 862 F.3d 863, 874 (9th Cir. 2017); Order re
Pls.’ Mot. to Enforce at 3 [Doc. # 177]; Order re Pls.’ Mot. to Enforce & Appoint a Special Monitor
at 2–4 [Doc. # 363]. The Court incorporates the legal standards that it articulated in its July 24,
2015 Order and June 27, 2017 Order and need not repeat them here. [Doc. ## 177, 363.]

        For the reasons stated below, the Court finds that Plaintiffs have shown serious questions
as to the merits of their claim that ICE has breached the FSA with regard to the provision of safe
and sanitary conditions and appropriate medical care and living accommodations in the context of
the COVID-19 outbreak. The Court further finds that Plaintiffs have a strong likelihood of
succeeding on their claim that both ICE and ORR have breached the FSA in their failure to release
minors to suitable custodians in a prompt manner and to record their continuous efforts towards
minors’ release.

         1. Safe and sanitary conditions and appropriate medical care

        The Court has previously held, with regard to CBP temporary facilities, that the
Agreement’s requirement for safe and sanitary conditions covers an array of basic hygiene and
health needs such as soap, toothbrushes, regulated temperatures, and conditions in which Class
Members can sleep. See Flores v. Sessions, 394 F. Supp. 3d 1041, 1057, 1059, 1061 (C.D. Cal.
2017); see also Flores v. Barr, 934 F.3d 910, 916 (9th Cir. 2019) (“We note that, as the district
court properly understood, assuring ‘safe and sanitary’ conditions includes protecting children
from developing short- or long-term illnesses as well as protecting them from accidental or
intentional injury.”). In addition to requiring safe and sanitary conditions with the particular
vulnerabilities of minors in mind, Exhibit 1 to the FSA also specifies that minors detained in
licensed programs shall receive, inter alia, “suitable living accommodations, . . . [a]ppropriate
routine medical . . . care, . . . emergency health care services, . . . screening for infectious [disease]
within 48 hours of admission . . . [and] immunizations in accordance with the U.S. Public Health
Service (PHS), Center for Disease Control.” Settlement Exhibit 1, ¶ A.1. There is no dispute that
ORR care facilities and ICE FRCs are covered by Exhibit 1.7


         7
           Defendants argue that Paragraph 12 of the FSA, which provides for the requirement that “[f]ollowing arrest,
the INS shall hold minors in facilities that are safe and sanitary,” does not apply to ORR’s care facilities, which are
licensed facilities designed for longer-term custody of Class Members, or to the one ICE FRC that is state-licensed.
Defs.’ Response at 25. The Court need not decide at this time whether Paragraph 12 also applies to ORR facilities
and one of the three ICE FRCs because those issues have not been fully addressed in a prior motion, and the Court
need not address it in order to resolve the TRO. Moreover, there can be no dispute that other provisions of the FSA
speak to the need to protect detained minors’ safety and well-being. See, e.g., Flores Agreement ¶¶ 11, 14.


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         Medical experts fear the exceptionally rapid transmission of COVID-19 in detention
facilities, where medical resources such as physicians, testing kits, and protective equipment are
constrained; people are unable to practice social distancing; shared facilities are not frequently or
properly sanitized; soap and hand sanitizer are not provided or easily accessible to detainees;
quarantine or isolation units are scarce; and there are frequent opportunities for an infected person
to enter or leave the facility. See, e.g., Peeler Decl. ¶¶ 19–25; Haney Decl. ¶¶ 7–11; TRO App.,
Ex. D (Meyer Decl.) ¶¶ 8–15. For migrant children in detention, who are already more likely to
have mental health concerns or may be separated from their family members, the trauma of
undergoing solitary quarantine for the virus or simply not receiving adequate information about
the potential for infection is likely to exacerbate existing mental health concerns. Peeler Decl.
¶¶ 26-27; Haney Decl. ¶¶ 12–13; TRO App., Ex. F (Zein Decl.) at 2–3 [Doc. # 733-8].
Furthermore, a high concentration of sick children, family members, and/or staff members in one
community may overwhelm already strained local health care resources, particularly in the rural
communities where many ICE and ORR facilities are located. Peeler Decl. ¶ 28. Examples from
prior epidemics and recent prison outbreaks of COVID-19 confirm these medical experts’ fears.
Peeler Decl. ¶¶ 30–31, 33. And, although children thus far appear less susceptible to COVID-19
than adults, they may still carry and transmit the coronavirus, and common health concerns
affecting many Class Members, such as asthma, malnutrition, and immunosuppression, may make
them more susceptible to serious forms of the disease. Peeler Decl. ¶ 8; Graves Decl. ¶ 11.
Accordingly, experts recommend reducing the size of the population within detention facilities to
permit children to be in the custody of family sponsors or to be released with their families and
thereby lessen the resource constraints and likelihood of overwhelming contagion in the less-
crowded facilities. Peeler Decl. ¶¶ 35–41; Graves Decl. ¶¶ 27–32; TRO App. Ex. G (Letter to
Congress) [Doc. # 733-9]. 8

        ORR has submitted evidence that the Chief Medical Officer of the CDC’s National Center
for Immunizations and Respiratory Diseases, who is also Deputy Incident Manager for the CDC
COVID-19 response, approves of ORR’s current COVID-19 procedures as consistent with CDC
guidances for congregate settings, and stated that “[i]n some respects, ORR’s current COVID-19
procedures actually exceed those set forth in the CDC guidances to congregate care facilities.”
Cohn Decl. ¶¶ 20–21. ORR also responds that it now: (1) has stopped placements in New York,
California, and Washington (states with significant coronavirus outbreaks); (2) has limited air
travel to local placements; (3) requires all care providers to conduct temperature checks for every
Class Member in its care twice each day; (4) elevates all medical cases with flu-like symptoms;

         8
          Defendants’ objections to these physicians’ opinions are OVERRULED, to the extent that the Court finds
the opinions reliable and based on expertise and personal knowledge. The Court gives only some weight to these
opinions insofar as they are not based upon personal knowledge of ORR and ICE detention facilities. See Defs.’
Response at 41–43.

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(5) maintains medically appropriate isolate capabilities at all of its shelters; (6) restricts access to
all visitors who display either an elevated temperature or flu-like symptoms; (7) provides testing
if recommended by medical personnel, (8) has full-time medical staff on site, and (9) isolates
anyone who either tests positive or is suspected of exposure to the COVID-19 virus. See Sualog
Decl. ¶¶ 17–34.

        Though ORR apparently still fails to address recommendations related to social distancing,
personal hygiene, or personal protective equipment, among others, these updates in policy in
response to a rapidly developing situation indicate that ORR is working to provide safe
accommodations and medical care to Class Members in its custody. Furthermore, overcrowding
at ORR facilities does not appear to be an issue, as ORR’s care-provider facilities are operating
significantly below their maximum capacity and historical highs. See Sualog Decl. ¶ 13.
According to declarations submitted by plaintiffs in support of a request for a TRO in a related
case, Lucas R. v. Azar, CV 18-05741 DMG (PLAx) (C.D. Cal.) [Doc. # 227],9 attorneys working
in ORR facilities for unaccompanied minors assert that each of the facilities in which they work is
at half or three-quarters capacity, although children and staff continue to spend their time in close
physical proximity. Lucas R. TRO App., Ex. F (Enriquez Decl.) ¶ 6 [Doc. # 227-8]; id., Ex. G
(Flamm Decl.) ¶ 5 [Doc # 227-9]; id., Ex. H (Rutter Decl.) ¶ 3 [Doc. # 227-10]. Recent CDC
orders prohibiting the entrance of unaccompanied children into the United States will also likely
decrease ORR’s custodial population. Cohn Decl. ¶ 23.

         Though the Court recognizes that the limited facts before it do not describe the conditions
at all of ORR’s 107 diverse facilities nationwide, the parties have presented sufficient information
for the Court to conclude at this time that ORR appears to be in substantial compliance with its
FSA obligations to implement CDC-compliant guidelines and to provide adequate routine medical
care and adequate living accommodations.

        Accordingly, Plaintiffs have not shown a likelihood of success on the merits as to this part
of their claim against ORR.

       By contrast, the ICE Guidance appears deficient. The ICE Guidance asserts that it was
updated on March 26, 2020 and that ICE implements CDC recommendations, but the section on
its website about how it is specifically addressing conditions in detention has not been updated
since March 15, 2020, and does not mention social distancing, increased personal hygiene, or
increased testing and medical care. See ICE Guidance. Nor does the ICE Guidance recognize the

         9
           At the hearing, the parties stipulated to the Court’s use of declarations submitted in support of and in
opposition to the Lucas R. TRO application in the disposition of this related TRO application, subject to evidentiary
objections.

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potential psychological harm of quarantining or isolating children for the duration of this
pandemic.

        Recent observations of ICE family residential centers (“FRCs”) show uneven
implementation of the recommended public health measures. An attorney at Karnes noted that as
of March 23, 2020, the facility was attempting to implement social distancing measures such as
limiting groups to 10 or fewer people, school closure, and meal delivery. Meza Decl. ¶ 38. But
attorneys working in Berks County Residential Facility (“Berks”) and South Texas FRC in Dilley,
Texas (“Dilley”), personally observed that children, family members, and staff continue to spend
the vast majority of their time in close physical proximity, and reports from detained minors and
their family members indicate that large proportions of them have conditions that render them
vulnerable to COVID-19 and/or already show symptoms associated with COVID-19 and that they
lack information about COVID-19, access to hand sanitizer, cleaning supplies, personal protective
equipment, and medical care. See, e.g., App., Ex. I (Fluharty Decl.) ¶¶ 12-14, 16-17, 19, 23–33
[Doc. # 733-11]; Cambria Decl. ¶¶ 10, 29–35.10

         ICE responds that, with the pandemic response evolving rapidly in all sectors, it has also
updated its response. Now, it asserts that Berks, Dilley, and Karnes are implementing the public
health measures that Plaintiffs requested in their TRO application. In summary, as of March 27,
2020, the FRCs are increasing the availability of hand sanitizers and soap and adding new
sanitizing stations throughout the FRCs; conducting more frequent cleaning and deep cleaning in
areas where residents congregate; suspended school and educational programs per statewide orders
in Pennsylvania and Texas; employing extra screening measures; employing staggered or
“satellite” meals to ensure greater social distancing at mealtime; limiting gatherings to small
groups in common areas; encouraging families to stay in their own residential areas; and
coordinating telephonic legal representation. Johnson Decl. ¶¶ 16, 18–22, 24, 27–29.

        Though laggardly in its early response, as of two days ago ICE appears to have announced
its implementation of CDC guidance during the COVID-19 outbreak. Given the current state of
the evidence and ICE’s only recent promulgation of some CDC recommendations in its FRCs, the
Court finds that Plaintiffs have raised serious questions as to the merits of their claim that ICE is
not compliant with its FSA obligations in the context of the COVID-19 outbreak.


         10
            Defendants’ objections to Fluharty’s, Meza’s, and Cambria’s declarations are OVERRULED, to the extent
that the Court relies on the attorneys’ personal observations. Considering the difficulty of obtaining non-hearsay
testimony from detainees even without the physical constraints of this pandemic and lack of any other evidence
regarding on-the-ground conditions in the FRCs, the Court accords appropriate weight to hearsay observations by
Class Members and their families. See Defs.’ Response at 39–41.

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         Considering the Court’s past orders, the exigencies of the circumstances, COVID-19’s
highly contagious nature, and the imminence of the threat, the Court invokes its authority, as
described in the October 5, 2018 Order Appointing Special Master/Independent Monitor [Doc.
# 494], to require heightened inspections of ICE facilities and, to a more limited extent, ORR
facilities to ensure the existence of safe and sanitary conditions. See October 5, 2018 Order at
¶¶ A, B.

         2. Release without unnecessary delay and recording efforts toward release

         In 2019, children in ORR custody remained in that agency’s care for an average of 66
days.11       Office of Refugee Resettlement, Facts and Data: Length of Care,
https://www.acf.hhs.gov/orr/about/ucs/facts-and-data (last visited March 27, 2020). In addition to
its obligations under the Flores Agreement, ORR is tasked by the William Wilberforce Trafficking
Victims Protection Reauthorization Act (“TVPRA”) to ensure that any sponsor is “capable of
providing for the child’s physical and mental well-being.” 8 U.S.C. § 1232(c)(3)(A). This Court
has previously found that some of ORR’s policies, even if they result in delays in releasing minors
to adult custodians, “appear to be reasonably calculated to protect Class Members from ‘harm or
neglect’ and to ensure that they have an adequate ‘standard of care.’” Flores v. Sessions, No. CV
85-4544-DMG (AGRx), 2018 WL 10162328, at *18 (C.D. Cal. July 30, 2018) (quoting Agreement
at ¶¶ 11, 17). But the change in factual circumstances now requires a reexamination of whether
ORR’s continued custody of children in congregate settings meets the Agreement’s requirement
that Class Members be released without unnecessary delay.

       As of March 13, 2020, ORR had 3,622 minors in custody, 1,193 of whom were in
congregate settings after having been detained for 30 days or more. TRO App., Schey Decl. ¶ 3
[Doc # 733-2]. According to fairly recent data provided by Defendants to Plaintiffs and
subsequently analyzed the Dr. Nancy Wang, Professor of Emergency Medicine at Stanford
University Medical Center, as of December 31, 2019, of the 4,562 minors still in custody at that
time, nearly half of them had been in custody for less than 20 days, but 11.6 percent had been in
custody for 31-60 days and—incredibly—11.7 percent had been in custody for six months to one
year. TRO App., Ex. P (ORR Data) at 9, 21 [Doc. # 738]. ORR’s data do not indicate why the
agency failed to release these minors or how many of them have sponsors.12 According to the

         11
              The Court takes judicial notice of the cited ORR website.
         12
            Although Dr. Wang’s analysis and data from 2018 indicates that the vast majority of children in ORR’s
care had close family members available as custodians, neither party has provided more updated information about
the availability of custodians for ORR’s current care population. See Schey Decl. ¶ 9; Defs.’ Response at 21; ORR
Data at 12.

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 Dilley Pro Bono Project’s records of Dilley residents, as of March 25, 2020, at least 22 minors
 have been detained more than 160 days, 10 have been detained for over 200 days, seven have been
 detained for more than 220 days, and one has been detained for 229 days. Fluharty Decl. ¶ 50.
 ORR’s apparent failure to “make and record the prompt and continuous efforts on its part toward
 . . . the release of the minor” makes it more difficult to ascertain how many of the minors’ releases
 to suitable custodians have been delayed without good reason. Agreement at ¶ 18; see also Flores
 v. Sessions, 2018 WL 10162328, at *21 (finding that the Agreement requires individualized
 assessments of whether a sponsor is a fit custodian and that requiring the ORR director’s approval
 of certain Class Members’ release violated the Agreement). Accordingly, though ORR may have
 justifications under the TVPRA for delaying release, Plaintiffs have raised serious questions going
 to the merits of their claim that ORR is in violation of the FSA’s recording requirement.

         As for ICE, the agency explains that its decisions to release class members depend on
 various factors, including the applicable detention authority, the status of any removal, credible
 fear, or reasonable fear proceedings, judicial or administrative stays, and humanitarian factors.
 Defs.’ Response at 23–24. Those decisions may be complicated by the fact that the FSA does not
 contain any affirmative right of release for adults in immigration detention with their children.
 Flores v. Lynch, 828 F.3d 898, 909 (9th Cir. 2016). But the Court reminds Defendants—yet
 again—that “hold[ing] minors in indefinite detention in unlicensed facilities, . . . constitute[s] a
 fundamental and material breach of the parties’ Agreement.” Flores v. Sessions, No. CV 85-4544-
 DMG (AGRx), 2018 WL 4945000, at *2 (C.D. Cal. July 9, 2018). ICE therefore must still comply
 with the Agreement’s requirement to release minors without unnecessary delay and “make and
 record the prompt and continuous efforts on its part toward family reunification and the release of
 the minor.” Agreement ¶¶ 12, 14. And,

          [t]o be clear, the Court will not dictate how Defendants must exercise their
          discretion to parole or release minors in every single case—instead, the Court will
          order Defendants to comply with the unambiguous charge of the Flores Agreement
          to make individualized determinations regarding a minor’s flight risk rather than
          blanket determinations.

 Flores v. Sessions, 394 F. Supp. 3d 1041, 1067 (C.D. Cal. 2017).

         Plaintiffs have provided evidence to indicate that ICE does not undertake or record any
 efforts aimed at the release of minors as required by Paragraphs 14 and 18 of the Agreement.
 Schey Decl. ¶ 7; Cambria Decl. ¶ 39; Fluharty Decl. ¶ 38–40; Meza Decl. ¶¶ 10, 43. According
 to a preliminary review of the most recent data provided by ICE to Plaintiffs, in February 2020,
 about 3,359 class members were detained in ICE family detention facilities. Schey Decl. ¶¶ 2,4.

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 More than half of those class members—1,861—have been detained for three months or longer.
 Of those class members, two were apprehended in 2014, four were apprehended in 2018, dozens
 have been detained for between ten to twelve months, and hundreds have been in custody for four
 months or more. Id. at ¶ 4. Though Defendants argue that these numbers are inaccurate, they are
 unable to provide any evidence of more accurate numbers within the time frame necessary to
 resolve this TRO application. Defs’ Response at 23. Without any contrary data, the Court finds
 that Plaintiffs have shown a strong likelihood of success on their claim that ICE has not undertaken
 or recorded efforts to promptly release the Class Members in its custody.

         Defendants argue that the data Plaintiffs request from ICE is already covered by the Court’s
 October 5, 2018 Order Appointing Special Master/Independent Monitor, [Doc. # 494]. The
 Monitor is, inter alia, tasked with monitoring ICE’s compliance with the Court’s June 27, 2017
 Order [Doc. # 363], which found that ICE violated Paragraphs 14 and 18 of the FSA by failing to
 make and record continuous efforts to release Class Members and place them in non-secure,
 licensed facilities. See Order Appointing Special Master/Independent Monitor at 4–5 [Doc. # 494].
 In fact, the Monitor is also tasked with monitoring ORR’s compliance with the Court’s July 30,
 2018 Order [Doc. # 470], in which the Court found ORR unnecessarily delayed the release of Class
 Members to custodians in violation of Paragraph 14 and 18 of the FSA. Id. at 5. The Monitor thus
 already has the authority to request “database” information for all Class Members, including the
 “dates, locations, and reasons for all transfers of Class Members” and, if the Class Member was
 not transferred to a licensed facility or released within 20 days, the reason why. Id. at ¶ B.1.c.i.
 On top of the information already within the Monitor’s purview, however, Plaintiffs also request
 some information about what efforts ICE and ORR are making to ensure Class Members’ prompt
 release and why each Class Member is remaining in custody. This global pandemic appears to be
 the type of emergency in which the Court may waive the time periods for the dispute resolution
 procedure set forth in the Order Appointing the Special Master/Independent Monitor. Id. at 24.

         Because COVID-19 poses unprecedented threats to the safety of Class Members and all
 who come in contact with them, including ORR and ICE staff, healthcare providers, and local
 populations, the Court finds that any unexplained delay in releasing a child in ORR and ICE
 custody violates of Paragraphs 14 and 18 of the FSA, which require the agencies to release Class
 Members in their custody without unnecessary delay and make and record efforts to release the
 Class Members. This finding is bolstered by the Court’s longstanding orders construing and
 mandating compliance with paragraphs 14 and 18 due to past violations. See July 24, 2015 Order
 [Doc. # 177]; June 27, 2017 Order [Doc. # 363]; July 30, 2018 Order [Doc. # 470]. Accordingly,
 Plaintiffs have established a strong likelihood of success as to the merits of this part of their claim.




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 B.       Irreparable harm, public interest, and balance of the equities

        Based on the foregoing discussion of the near-certainty of the rapid spread of COVID-19
 in ICE and ORR facilities, even if ORR and ICE take more urgent preventative measures, Plaintiffs
 have demonstrated that “they themselves are likely to suffer irreparable harm absent an injunction”
 that may aid in securing their release. Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 886
 F.3d 803, 822 (9th Cir. 2018); see also Unknown Parties v. Johnson, No. CV-15-00250-TUC
 (DCBx), 2016 WL 8188563, at *15 (D. Ariz. No. 18, 2016), aff’d sub nom Doe v. Kelly, 878 F.3d
 710 (9th Cir. 2017) (finding irreparable harm where the evidence demonstrated “medical risks
 associated with . . . being exposed to communicable diseases”). As Plaintiffs’ counsel noted at the
 hearing, having information about delays in Class Members’ release from ORR and ICE custody
 can help expedite their release from congregate settings that medical experts agree are hotbeds for
 contagion.

         The severity of the harm to which Plaintiffs are exposed and the public’s interest in
 preventing outbreaks of COVID-19 among families and children in ICE or ORR custody that will
 infect ICE and ORR staff, spread to others in geographic proximity, and likely overwhelm local
 healthcare systems tips the balance of equities sharply in Plaintiffs’ favor. See Stormans, Inc. v.
 Selecky, 586 F.3d 1109, 1138 (9th Cir. 2009). Any countervailing financial and administrative
 concerns do not outweigh public health and safety in the midst of pandemic, particularly given the
 limited scope of the temporary relief that the Court will grant. See Hernandez v. Sessions, 872
 F.3d 976, 996 (9th Cir. 2017) (“Faced with such a conflict between financial concerns and
 preventable human suffering, we have little difficulty concluding that the balance of hardships tips
 decidedly in plaintiffs’ favor.” (quoting Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983)).

         The Court agrees with Defendants, however, that the interests of all parties and the public
 are not well served at this time by rushing to release minors en masse in the midst of the current
 travel restrictions or to release them to potentially unfit custodians based on limited information,
 particularly given the possibility of contagion via public transportation, or introducing healthy
 children to homes where they could be at a higher risk of infection. See Cohn Decl. ¶ 22; Sualog
 Decl. ¶¶ 42–44.13 Furthermore, given the individualized circumstances of each family and each
 unaccompanied minor’s potential sponsor, the Court does not find that ordering ORR and ICE to
 immediately release hundreds or even thousands of minors is appropriate on a class-wide basis.

          13
             The Court is aware that some experts believe that release is safer for children than congregate care. See,
 e.g., Lucas R. TRO App., Supplemental Declaration of Julie DeAun Graves [Doc. # 231-3]. While that may be true
 as a general matter and therefore supports the FSA’s general policy favoring release, the Court is also aware that in
 the real world not all “homes” are equal. Defendants must promptly fulfill their duty under both the FSA and the
 TVPRA to make determinations of suitable placement.

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 Based on the comments of Plaintiffs’ counsel at the hearing, it appears that Plaintiffs also agree
 that an orderly, yet prompt, disposition of minors’ claims of suitable placement is a responsible
 way to proceed.

         Pursuant to the clear terms of the FSA and the Court’s prior Orders, ORR and ICE are
 already obligated to release Class Members without unnecessary delay. Accordingly, the balance
 of equities still weighs in favor of granting Plaintiffs interim relief. While the Court will not order
 immediate release of minors on a class-wide basis, the Court will order ORR and ICE to show
 cause why they should not be held to answer for unexplained delays in releasing eligible Class
 Members.14

         Thus, paying “particular regard [to] the public consequences in employing the
 extraordinary remedy of injunction,” the Court finds that Plaintiffs have met their burden to show
 entitlement to temporary injunctive relief, as delineated below, due to the exigencies of the
 COVID-19 pandemic. Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982).

 C.       Bond

         Rule 65(c) permits a court to grant preliminary injunctive relief “only if the movant gives
 security in an amount that the court considers proper to pay the costs and damages sustained by
 any party found to have been wrongfully enjoined or restrained.” Notwithstanding its seemingly
 mandatory language, “Rule 65(c) invests the district court with discretion as to the amount of
 security required, if any.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009) (internal
 quotation marks omitted).

        Based on the record before it and the composition of the class, the Court waives the bond
 requirement.

                                                    IV.
                                                CONCLUSION

          In light of the foregoing, Plaintiffs’ TRO Application is GRANTED in part as follows:

      1. Defendants are hereby ORDERED to SHOW CAUSE by April 10, 2020 at 10:00 a.m.
         why a preliminary injunction should not issue (1) requiring Defendants to make and record

          14
           ORR has already submitted some information that may explain delays in the release of some Class
 Members, such as the coronavirus-related closure of fingerprinting sites that are key to completing TVPRA-required
 background checks. See, e.g., Sualog Decl. ¶ 48.

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          continuous efforts to release class members; (2) enjoining Defendants from keeping minors
          who have suitable custodians in congregate custody due to ORR’s unexplained failure to
          promptly release these minors to suitable sponsors under the TVPRA; and (3) enjoining
          Defendants from keeping minors who have suitable custodians in congregate custody due
          to ICE’s unexplained failure to release these minors within 20 days, especially given the
          emergent circumstances and the Court’s prior orders requiring the same (see, e.g., July 24,
          2015 Order [Doc. # 177], June 27, 2017 Order [Doc. # 363], July 9, 2018 Order [Doc. #
          455], July 30, 2018 Order [Doc. # 470]).

     2. Pending the OSC hearing, IT IS HEREBY FURTHER ORDERED as follows:

               a. ORR and ICE facilities shall make themselves available to the Juvenile
                  Coordinators for inspection.15 By no later than April 9, 2020, the Juvenile
                  Coordinators overseeing ICE and ORR facilities shall provide the Court and the
                  Special Monitor with a report regarding whether their facilities are at, above, or
                  below capacity levels (with specific numbers) and the status of implementation of
                  CDC-compliant guidances. The Juvenile Coordinators shall also videotape living
                  conditions at any facility chosen by the Special Monitor and/or her expert
                  consultant for review, as well as provide any requested information on what
                  guidance protocols are being followed there.

               b. For the purposes of litigating Plaintiffs’ request for injunctive relief, by April 6,
                  2020, ORR and ICE shall provide to the Monitor, Class Counsel, and the Court the
                  information listed in the Order Appointing Special Master/Independent Monitor, at
                  B.1.c.i(i)-(x), as well as a brief summary of efforts toward family reunification or
                  release of the detained Class Member. [Doc. # 494.] To the extent this information
                  implicates privacy concerns, it may be filed under seal.

                       i. For the purposes of this evidentiary snapshot, the Court requires the
                          requested data only for Class Members being held in ICE custody in any
                          FRC, and ORR facilities located in States that have 3000 or more confirmed
                          cases of COVID-19 as of the date of this Order: California, Illinois,
                          Louisiana, Massachusetts, Michigan, New Jersey, New York, and
                          Washington. To the extent possible, ORR should endeavor to provide the
                          requested information for all Class Members in their custody.


          15
             While physical inspection is preferred, given current guidelines regarding COVID-19 prevention, an
 inspection via videoconferencing technology is also acceptable.

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            c. ORR and ICE shall make every effort to promptly and safely release Class
               Members in accordance with Paragraphs 14 and 18 of the FSA and the Court’s prior
               orders (see, e.g., July 24, 2015 Order [Doc. # 177], June 27, 2017 Order [Doc.
               # 363], July 9, 2018 Order [Doc. # 455], July 30, 2018 Order [Doc. # 470]).

   3. Plaintiffs must serve this Order on Defendants no later than March 30, 2020 (or file
      Defendants’ Voluntary Notice of Acknowledgment of Service), and Plaintiffs shall file a
      proof of service immediately after effecting service. Defendants shall file their
      supplemental Opposition, if any, to Plaintiffs’ request for a preliminary injunction by noon
      on April 6, 2020, and Plaintiffs shall file and serve a Reply, if any, by noon on April 8,
      2020. The videoconference hearing on the OSC re preliminary injunction shall be on April
      10, 2020 at 10:00 a.m. By no earlier than April 6, 2020, counsel shall contact the
      courtroom deputy clerk at dmg_chambers@cacd.uscourts.gov to receive the
      videoconference link.

   4. If, at any time before the Court’s ruling, the parties stipulate to any form of interim
      relief, they shall immediately inform the Court of that development.

 IT IS SO ORDERED.




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